Case 3:18-cv-00278-BJB-RSE Document 82 Filed 02/18/22 Page 1 of 2 PageID #: 1093




                              UNITED STATES COURT OF APPEALS
                                   FOR THE SIXTH CIRCUIT

                                            ________________

                                              No: 21-5666
                                            ________________

                                                                       Filed: February 18, 2022

 STEVEN NELSON

                 Plaintiff - Appellant

 v.

 COSTCO WHOLESALE CORPORATION; UNKNOWN DEFENDANTS; UNKNOWN
 EMPLOYEE OF COSTCO

                 Defendants - Appellees



                                             MANDATE

      Pursuant to the court's disposition that was filed 01/26/2022 the mandate for this case hereby

 issues today.



  COSTS: None
Case 3:18-cv-00278-BJB-RSE Document 82 Filed 02/18/22 Page 2 of 2 PageID #: 1094




                             UNITED STATES COURT OF APPEALS
                                  FOR THE SIXTH CIRCUIT
                                 100 EAST FIFTH STREET, ROOM 540
    Deborah S. Hunt             POTTER STEWART U.S. COURTHOUSE                 Tel. (513) 564-7000
        Clerk                       CINCINNATI, OHIO 45202-3988               www.ca6.uscourts.gov




                                                  Filed: February 18, 2022




 Mr. James J. Vilt Jr.
 Western District of Kentucky at Louisville
 601 W. Broadway
 Suite 106 Gene Snyder U.S. Courthouse
 Louisville, KY 40202-2249

                      Re: Case No. 21-5666, Steven Nelson v. Costco Wholesale Corporation, et al
                          Originating Case No. 3:18-cv-00278

 Dear Clerk,

    Enclosed is a copy of the mandate filed in this case.

                                                  Sincerely yours,

                                                  s/Robin L Baker, Case Manager for
                                                  Julie A. Connor, Case Manager
                                                  Direct Dial No. 513-564-7033

 cc: Mr. Robert L. Astorino Jr.
     Mr. Donald K. Brown Jr.
     Ms. Morgan Kathleen Mottley

 Enclosure
